 

10
ll
12
13
14
15
16
17
18

19

20

21

22

23

24

25

 

 

A As I recall, I did, yes.

Q What was the general consensus in the community, to the
best of your knowledge, in 1976, prior to September of 1976,
toward Ronnie Long?

A I think that the community, there was some polarization
within the community. The community was obviously -- any time
in a small town that there are marches and demonstrations, it

Certainly causes concern within the community. I think

'generally there was an attitude of wanting to get this trial

over with. As to the guilt or innocence, I'm not sure that I
am qualified to state how the community felt.

Q Was there a black-white issue, based upon your reflection
in the community at that time, in this case?

A Oh, I think without question there was a black-white
issue, yes,

Q Describe how you reach that conclusion, please.

A Well, there were the demonstrations that were obviously
mostly black, there were rallies held in support of Mr. Long,
fund-raising rallies. These were publicized. And generally
there was conversation within the community about the concerns
for the demonstrations and what might occur.

Q Had there been prior racial problems in Cabarrus County
within recent years of '76?

A There had been in the early seventies, yes, and I don't
recall the dates.

John Kennedy - Direct 54

Case i:lG-CV-OOBSQ-CCE-LPA Document 7-17 Filed 06/17/16 Paoe 1 of 53

Ul

 

l

10
15
12
13
14
15
15
W
18
19

20

21

22

23

24

25

Case i:lG-CV-OO539-CCE-LPA Document 7-17 Filed 06/17/16 -Paoe 2 of 53

 

 

 

Q Were you around the courthouse at the time of Ronnie
Long's trial?

A Yes, sir, I was.

Q Describe what you observed at the courthouse in September
of '76 at the time of Mr. Long's trial.

A It was a tense situation. There were -- the courtroom
was relatively full about the entire time of the trial, and at
the closing day of the trial it was, the courtroom was filled,
as I recall.

Q Were the blacks on one side and the whites on the other,
or not?

A I really can't say; I don't recall.

Q You don't recall. What was the situation in the lobby?
Was that crowded or full or not?

A On the last day of the trial there were a number of
people in the lobby.

Q Were these mostly black folks or mostly white folks?

A Mostly black, as I recall.

Q Where was the jury?

A Where was the jury?

Q ‘ Yes. Mostly in the jury box?

A In the jury box.

Q I guess I deserve that! At the time leading up to the
trial,`what was the Tribune's plans for reporting of this
trial? Was it considered a major trial?

John Kennedy - Direct 55

 

10

H

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

 

 

A Ah ~-

Q One worthy of front-page reporting?
A Well, certainly, a capital offense, yes,
Q All right, at this time that was -- was that capital at

that time? Rape and first-degree burglary, was it not?

A Right.

Q All right, so you as a newspaper editor, managing editor,

.had instructed your staff to treat this as a major case,

correct?

A Correct.

Q And you had been doing this since April, is that a fair
statement?

A We had been following the case, right, since April._

Q Prior to the arrest of Mr. Long, can.you describe the

feelings in the community toward the crime itself? Are you
familiar with that? <

A No. No, not actually; I don't think I'm qualified to

say_

Q All right, You know who the victim was, do you not?
A YeS.

Q _ Would you describe her status in the community, to the

best of your knowledge, her character, her reputation.

A Until her, until the case occurred, I really didn't know
the lady.

Q . All right.

John nennedy - uirect 50

Casei1:16-CV-OO539-CCE-LPA D00ument7-17 Filed 06/17/16 PaoeSof 53

 

 

10

H

12

13

14

15

16

17

18

19

20

21

22

23

24

25

Case

 

 

i:lG-CV-OO539-CCE-LPA D00ument7-17 Filed 06/17/16 Paoe40f 53

A She was, as I understand it, the widow of a retired
Cannon, former Cannon employee, or former Cannon executive.
But I was not personally familiar with her or her husband
except just knowing the name.

Q Where did she live, without getting specific about
addresses, but what portion of the city?

k She lived in the southwest side of the city.

0 All right, and that area in which she ]ived, does that
area have a general reputation »- meaning predominantly white

area, predominantly black area?

A At that time it was predominantly white area.

Q Upper middle class, is that a fair statement?

A I would agree with that.

Q . All right, Now, at the time Ronnie Long was arrested,

were you familiar at all with him?

A I did not know Ronnie Long.

Q You did not know Ronnie Long or any of his activities?

A I had no knowledge of Ronnie Long at that time,

Q All right, Did you regularly report on these rallies?

k We did report on them; we had regular_requests to announce

the location of these rallies, and as l recall we did that in
most cases.

Q Why would you do that, Mr. Kennedy?

A Well, it's a public function; this is a small community
and we're a small-town newspaper, and it was a function in

John Kennedy - Direct 57

\v

 

10

H

12

13

14

15

16

17

18

19

20

21

22

23

24

25

Case 1.

which a gathering of people was taking place and we do that
on a normal, just a normal thing.
Q Were those articles basically in a predominant section

Of the paper? In other words, front-page articles in some

cases?
k I don't recall the location of them.
Q All right, actually what you have reviewed is clippings_

rather than actual newspapers?

A That is correct, the. clip file.

0 All right, and that clip file is just a basic file kept
at the newspaper, is that correct?

A That's correct.

0 Mr. Kennedy, do you have an opinion as to whether the
_general facts of the reporting of this case were known in
the community prior to trial of this matter?

k Excuse me?

Q All right, do you have an opinion as to whether this

case was generally known in the community prior to Mr. Long's

trial?
A You mean, by this case meaning what?
g Excuse me, in 1976, do you have an opinion as to whether

the community at large generally was familiar with the
charges against Ronnie Long?

k Yes, I think that most of the community was generally
familiar with the charges, yes,0

John Kennedy - Direct 58

 

 

iLS-cv-OOBSQ-CCE-LPA Document7-17 Filed 06/17/16 Paoe50f 53

 

 

10
11
12
13
14
15
16
17
1a
19
20
21
22
2a
24

25

Case

 

 

 

Q Do you have an opinion as to whether most of the com-
munity was aware that this was a black defendant charged with
a crime against a white woman?
A Yes, I assume that most people would.
g All right,

MR. GROSSMAN: No further questions.

THE COURT: Mr. Roberts.

"CROSS`EXAMINATION'BY MR. ROBERTS:

Q 'Mr. Kennedy, the atmosphere created at and around the

_ courthouse was generated by black people in support of the

defendant, were they not?

A That is correct,

Q And I believe that you investigated an awful lot of this
and many of these people were from outside of Cabarrus County,'
is that correct?

A There were a number of leaders in the group that were
from outside Cabarrus County.

Q And I believe, if you know, sir, 'if these people, some
of them, did not sleep in the basement of a local church?

A I think that's correct, yes,

Q And that the local members of that church and in the

community resented their presence, as a matter of fact, did

they not?
A We had some communication to that effect, yes,
Q So any atmosphere created was not by the State of North

John Kennedy - Cross 59

i:lG-CV-OO539-CCE-LPA Document7-17 Filed 06/17/16 Paoe 60f 53

 

1 Carolina but by these people who were supporting Mr. Long,

KV{ 2 is that a reasonable conclusion?
3 A That would be my conclusion, yes, sir.
4 Q Uh~huh. Now, in the reporting of the case prior, during

5 and after, do you recall your newspaper printing anything
6 which you would consider inflammatory?
7 A No, sir, we were extremely cautious during that period
18 of time about that very thing because we feel a responsibility
9 to the community to try and prevent those types of things.
\\\\ 10 We certainly attempted to present the facts; we reviewed the

n stories very carefully to prevent any inflammatory or racist

information being put out.

12
13 Q And you were, as I recall, Mr. Kennedy, you were person-
]4 ally present throughout virtually all of this trial, were you
15 not?
16 A. I was present throughout a good portion of the trial,
17 Q All right, sir. And I believe that earlier witnesses
18 testified that there was some polarization in the courtroom,
19 that the supporters of the prosecuting witness got on one
20 side and supporters of the defendant on the other?
21 A . l heard that earlier; I honestly did not observe that
22 personally, but I think it is reported in one of these articlen,
23 but personally I do not recall,

‘W“ 24 g All right, sir. And by the very nature of this courtroom
25 the Smoking area and general leisure area of the courthouse

John Kennedy - Cross 60

 

 

Case 1i:16-Cv-OO539-CCE-LPA Document 7-17 Filed 06/17/16 Paoe 7 of 53

`|

10
11

12
13
14
15
16
17
18
19
20
21

22

 

23
7 j 24

25

Case

 

 

 

 

is Common; there is no way to polarize out there, isn't that
correct?
A That's correct.

Q And from the beginning of the trial until the rendering

of the verdict, there was no confrontation between these two

'groups supporting separate sides, was there?

k Not to my knowledge{ there was none.

Q As a matter of fact, an atmosphere of geniality existed
other than the seriousness of the situation?

A It was a serious situation, but I did not observe any

Confrontations of any kind.

Q No name calling?
k No, sir.
Q And I believe that after the verdict was rendered there

was a virtual riot in the courtroom?

A. Almost, yes, sir.

Q And police had to clear the courtroom?

k That's correct.

Q After the verdict was announced?

k That's correct.

Q That was a spontaneous occurrence as far as anyone was

able to determine, l assume, particularly from your viewpoint?
A lt appeared to be such.

Q And I believe at that time you were correct that arson,
murder, rape and first degree burglary were capital offenses

John Kennedy - Cross 61

:16-cv-OO539-CCE-LPA Document7-17 Filed 06/17/16 PaoeSof 53

 

10
11

12
13
14
15
16
17
18
19
20
21
22
23
24

25

but the death penalty had been outlawed by the Supreme Court
at that particular time in the evolution of the law, is that
not correct?

k Yes, sir.

Q All right. And the reporter, Dale Ritchieq is no longer
with your newspaper?

A No, sir, she is not.

0 So far as you were able to ascertain, her reporting in
the newspaper was an accurate depiction of what, in fact,
occurred here, is that correct?

A That is correct. Dale was a very efficient reporter
and a very good court reporter,

MR. ROBERTS: All right, sir, I have no further
questions.

MR. GROSSMAN: Judge, Mr. Kennedy has brought the
originals of all his articles and I intended to move the
introduction of those articles into evidence. I don't know
of any other way around it except to try to get them copied
unless we put them in the record and return them at a later
time to the newspaper, Of course, it's my understanding they
would have to stay with the record.

THE COURT: It's about lunchtime; why don't we stop
for lunch and let you --

MR. GROSSMAN: That's what I was hoping the Court
would say. I'll mark them after lunch and we can get them

John Kennedy - Cross 62

 

Case

 

i:lG-Cv-OO539-CCE-LPA Document7-17 Filed 06/17/16 Paerof 53

 

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24

25

copied and then move their introduction.

-THE COURT: Do you anticipate calling further wit-
nesses after lunch?

MR. GROSSMAN: Judge, I have Mr. Padgett. He's
about ten minutes. Mr. Cannady is coming at two o'clock/
he's not here, he's about ten minutes. Mrs. Ritchie herself.
And that's about the length of time as Mr. Kennedy. And
I believe Mr. White, who is about five minutes for me and

I don't know how long for Mr. Roberts.

THE COURT: Mr. Roberts, do you plan to call
witnesses or relying on cross examination of defendant's
witnesses?

MR. ROBERTS: Your Honor, at this point I verily
intend to rely on cross examination of the witnesses unless
I'm surprised.

THE COURT: Then it's very likely we can conclude
this this afternoon?

MR. ROBERTS: I would think so.

THE COURT: Do we need to shorten the lunch hour?

MR. ROBERTS: No, sir, I see no need or necessity
to do that, Your Honor. 4

THE COURT: All right, we'll be in recess until two
o'clock.

1 (Prior to the lunch recess, the Court conferred
with Mr. Grossman and Mr. Roberts, inquiring if either of them

63

 

Case 1.

 

16-Cv-00539-CCE-LPA Document7-17 Filed 06/17/16 Paoe 10 of 53

 

10
11
12
13
14
15
16
17
18
19
20
21
122
23

24

25

 

 

 

had any objections to his attending a prearranged luncheon

lengagement with Deputy Ira Padgett; neither attorney objected.

-- RECESS FOR LUNCH --

MR2 GROSSMAN; Your Honor, Defendant's Exhibits 7
through 26 are simply numbers of each news story from the
Concord Tribune from the file of the Concord Tribune kept on
this case; if I might introduce those exhibits into evidence.

THE COURT: All right.

MR. ROBERTS: The State has no objection, Your
Honor.

MR. GROSSMAN: Your Honor, l cannot recall if I
introduced Exhibit 6 which was the brief.

THE COURT: Not yet.

MR. GRossMAN= Then 1 would move to introduce that

into evidence.

MR. GROSSMAN: And I believe I did introduce 5
which was the Harbison case, of course, the transcript.

Your Honor, I believe Mr. Roberts and I have a stipula-
tion that according to the 1970 census the percentage of
blacks in the population of Cabarrus County was sixteen point
nine percent.

MR. ROBERTS: The State will so stipulate, Your
Honor. v
MR. GROSSMAN: Thank you.
Mr. Cannady, come around, please, sir.

64

Case l:lG-CV-OO539-CCE-LPA Document 7-17 Filed 06/17/16 Paoe 11 of 53

 

 

10

H

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

Case 1:

'HARVEY CANNADY, being duly'sworny testified as follows:

"DIRECT EXAMINATION BY MR. GROSSMAN:

0 What's your name, please, sir?

A. Harvey Cannady.

0 Mr. Cannady, are you a regular visitor to the courthouse,
sir?

A Well, I was for a good while but my wife got sick and I
had to quit.

0 All right. In the middle seventies, sir, were you a
regular visitor to the Criminal Superior Court?

A A right smart.

0 Beg your pardon?

k Yeah.

Q So you came up here for most Criminal Superior Court
Sessions in the seventies? Were you here for most sessions
in '74, '75 and '76; sir, as best you can recall?

A Best I can recall, I was.

0 Do you remember, sir, the average number of people in a
jury pool in '74, '75 and '76? Now, by pool, you understand
what I mean, don't you?

A That's all of them back there;

0 Right. Do you recall the average number of folks in a

jury pool back in '74, '75 and '76, that general area?

A Best I remember it was about forty-five or fifty.
0 All right, do you remember, Sir, the average number of
Harvey Cannady - Direct 65

 

16-cv-00539-CCE-LPA Document7-17 Filed 06/17/16 Paoe 12 of 53

 

/`
.’

10

H

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

 

blacks in each jury pool?
A Best I remember it was five or six.
Q All right.
MR. GROSSMAN: Thank you, Mr. Cannady.
MR. ROBERTS: No questions.
THE COURT: Thank you, Mr. Cannady; you may step
down.

(The witness leaves the stand.)

"IRA PADGETT, being duly`sworn;‘testified as follows:

 

` DIRECT EXAMINATION BY MR. GROSSMAN:

 

Q ' State your name, please, sir.

A Ira Padgett.

0 Mr. Padgett, how are you employed, sir?

k Deputy Sheriff's Department, Concord.n

0 And how long, sir, have you been so employed?

k Thirty-two years.

0 Mr. Padgett, were you present during the trial of Ronnie

wallace Long?

A Yes, sirt

0 Were you, in fact, on duty during that trial?

k I was the bailiff, one of the bailiffs} yes, sir.
0 All right. Were you present during most trials of

Criminal Superior Court sessions in the years '74, '5 and '6,
sir?
k Yes, sir.

Ira Padgett - Direct 66

C33511:16-CV-OO539-CCE-LPA Document7-17 Filed 06/17/16 Paoe 13 of 53

 

 

10
11

11
13
14
15
16
17
18
19
20
21
22
23
24

25

 

 

 

Q Were you, in fact, present most of the time for Superior

Court during that time period?

A Yes, sir.

0 Do you recall jury pools during that time period?

k Yes, sir.

0 Approximately how many people do you recall being in a
jury pool?

A Forty to forty-five.
0 And approximately, sir, if you recall, how many blacks

were in each jury pool?

A Three -- two, three, four and five.

0 All right, and is that a fairly safe average --

A Yes, sir.

Q I used the wrong term, is that an accurate averagey best

you recall?
A Yes, sir.

Q All right, you've been here thirty-two years?

k Yes, sir.

0 AS such, are you familiar with grand juries in Cabarrus
County?

A Well, some.

0 All right, have there been blacks on grand juries in

Cabarrus County?
A Yes, sir.
Q iRegularly?

Ira Padgett - Direct 67

Case 1116-CV-OO539-CCE-LPA Document 7-17 Filed 06/17/16 Paoe 14 of 53

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

Case 1

 

 

k I think so.
0 All right. To your knowledge in thirty-two years, has
there ever been a black grand jury foreman in Cabarrus County?

k I can't remember if there has.

0 Thank you very much.

' `C`ROS`S` EX'AMINATION BY' MR.~` `ROB'E`RTS:

 

Q Mr. Padgett, are you familiar with how the foreman of
the grand jury is selected by the presiding judge?

k Not exactly.

0 You don't recall?
A No.
0 Do you recall, Mr. Padgett, that on many occasions that

terms of court would open and there would be less than twenty-

five jurors in the pool?

k Yes, sir.
0 And blacks were always represented, were they not?
A Yes, sir.

0 On the jury?
A Yes, sir.
0 And when they added the driver's license possessors to
the jury list, it has increased tremendously, has it not?
A Yes, sir, voter registration.
0 Uh-huh. Do you have any --

MR. ROBERTS: Your Honor, I have no further
questions. Thank you,

Ira Padgett - Cross 68

 

:16-cv-OO539-CCE-LPA Document7-17 Filed 06/17/16 Paoe 15 of 53

\_/

10
11

12
13
14
15
10
17
18
19
20
m

22
23
24

25

 

 

Case

 

`REDIRECT EXAMINATION BY MR. GROSSMAN:

Q So since they have changed that law, black participation
has increased?
A Yes, sir.
0 That was changed -- strike that.
MR. GROSSMAN: No further.

(The witness leaves the stand.)

`ESTUS WHITE, being duly sworn, testified as follows:

` DIRECT EXAMINATION BY MR. GROSSMAN:

0 What is your name, sir?

A Estus B. White.

0 Mr. White, how are you employed?

A State of North Carolina; I serve as Clerk of Superior
Court, Cabarrus County.

0 How long have you served as our Clerk?

A Little more than twenty years.

0 Mr. White, recently for the Administrative Office of the

Court, did you do a review of grand jury foremen in Cabarrus

County?
A Yes.
0 As such, were you able to determine that at least over

the last twenty years there had been no black grand jury
foremen in Cabarrus County?

A In response to the report, I reported that I did not
recall that there had been a black as foreman of the grand

Estus White - Direct 69

1:16-CV-OO539-CCE-LPA Document7-17 Filed 06/17/16 Paoe 16 of 53

 

10
11
12
13
14
15
16
17
1a
19

4 20
21
22
23
24

25

 

`CRDSS EXAMINATION BY MR._RUBERTS:

 

jury.

0 All right, to the best of your knowledge has there been a
black foreman of the grand jury since at least your time
period 1967 forward?

A Not to my knowledge.

0 Thank you,

 

0 Mr. White, are you generally familiar with the process
by which the foreman of the grand jury is selected in the
Superior Court of Cabarrus County?

A Yes, I am.

0 n Could you state to His Honor the process that has been
employed since you have been the Clerk of Superior Court of
this County?

A. Well, since we have been under theUnifonnCourt System
which is December 7, 1970, if I might use that date rather
than since because we were under a different system completely

before that d;t;; but since that date when Cabarrus County
became part of the state system referred to as the Uniform
Court Reform, there has been a selection of members of the
grand jury chosen on an alternate basis, indicating that there
were nine members that were to serve a six-month period and
after that an additional nine. Of course, the purpose of this
of course, was that you would at all times have at least

half of your members of the grand jury who had served at least

Estus White - CFOSS 70

 

Case 1:16-CV-OO539-CCE-LPA Document 7-17 l|:i|ed 06/17/16 Paoe17 of 53

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

Case‘1.16-CV-OO539-CCE-LPA Document7-17 Filed 06/17/16 Paoe 18 of 53

1

_grand jury which would indicate that there would be two

 

 

six months. The process, of course, by law is that the
presiding judge at the first session after January and the

first session after July would appoint a foreman of the

foremen appointed a year, one after the first session in
January and one after the first session in July. As I --
well, the procedure has been basically that the foreman who
has served the first six months makes a recommendation to

the Court of a member of the remaining nine that were to
serve the additional six months, would make a recommendation
that one of those nine members would serve, indicating his
willingness to serve and his ability to serve as a foreman

of the grand jury. This name would be submitted with
consultation with the previous foreman. From this there
would be a preliminary review, not an extensive review, of
the background and qualifications of this person, making sure
that there was no criminal record or whatever -- we normally
check judgment records and criminal records of a prospective
foreman. From this a recommendation would be made to the
presiding judge. And as I recall, in every instance the
recommendation of the foreman, the previous foreman, had been
accepted by the presiding Superior Court judge.

0 And at any time, according to your knowledge, was race

a qualification of the grand jury foreman?

A I have never heard the word "race" nor has the word "race

Estus White - Cross 71

 

1 ` ever been mentioned, to my knowledge; certainly not by this
tv 2 Clerk.

3 0 All right, sir. And, of course, the procedure for the

4 determination of the nine who go on the grand jury the first
5 session after July l and January l are drawn by lots, is that
0 not correct? n

7 A By lots, yes; by a numbering system, The first session
8 after January and the first session after July an additional
9 number of jurors, I'm sorry, I do not know exactly but I

10 believe it's either ten or twelve additional jurors are added
11 to the normal number of drawing of petit jurors, From this
12 we will select by what we refer to as a numbering system --
(; 13 if there are seventy-five jurors, each would have a number

14 and it would be called strictly by number and then be matched
15 against a list that would indicate the name of the individual
16 juror. We do not actually pull the names of the juror but we
17 do it by lot, as you say, or by number.

18 0 And conceivably if there were thirty-five or forty people

 

19 on a jury panel subpoenaed to appear at a particular session
20 of court, and when you draw out nine additional names, it

21 would be done by lot and without regards to race?

 

22 A Yes, that would be correct.
23 0 And conceivably if out of the forty jurors ten were

 

24 black, it is conceivable that nine white names would be called
25 in the system, is that right?

Estus White - '_Cross4 72

 

 

 

Case 1:16-CV-OO539-CCE-LPA Document 7-17 Filed 06/17/16 Paoe 19 of 53

10
11
12
13
'14
15
16
17
18
19
20
21
22
23
24

25

 

1

 

A It would be conceivable it could be either way, Mr.
Roberts.

0 All right, sir. Thank you,

REDIRECT'EXAMINATION BY`MR;`GROSSMAN:

Q To your recollection, Mr. White, have grand juries in
Cabarrus County been predominantly white over the past twenty
years?

A I really do not come in contact in many cases with all
of the members of the grand jury. Many years ago when we did
not have as many courts operating, I did attend the selection
by lot as Mr. Roberts referred to. I'm afraid that I have not
seen all the members of the grand jury; my conversation is
normally only with the foreman, and this conversation relates
to giving him,what we use is a copy of the statute related

to his duties and responsibilities. My assistant clerk has
more contact with the foreman, actually, than I because she
types the jury report, But as I recall, there have been, to
my knowledge there has not been a grand jury that there were
not members of the black race on it. But here again, I very
Seldom come in contact actually with the grand jury itself,
face-to-face.

0 All right, sir. Did you regularly keep in contact or
come in contact with the grand jury in '74, '5 and '6,

that area?.

A For that period of time it's rather difficult, Mr.

Estus White - Redirect 73

Case 1.16-Cv-OO539-CCE-LPA Document 7-17 Filed 06/17/16 Paoe 20 of 53

 

`\/

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

Grossman, for me to recall something eight years ago or more
or whatever the period of time would be. I possibly had more
contact in those days than I presently do, but I do not recall
the formation of the jury as such as individuals. I do not
recall the name of the foremen of 1974, '75 or '76, which
would have been in that case six jurors.
Q All right.
A I do not recall the name of the foreman of that grand
jury. I naturally have a record of that name but I do not
recall the names even.

MR. GROSSMAN: No further questions.

THE COURT: If I might ask a couple of questions,
when you refer to the drawing of the jurors by lot, are you
referring to the drawing by lot of the jury panel to be called

for each session of Superior Court?

THE WITNESS: Your Honor, at a session in January
and a session, the first session after July, which sometimes
might be August, sometimes would be July, we will draw
approximately seventy names, or in the past; that number has
been increased recently because of the number of jurors, but
that has been done within the last year.

THE COURT: Your office draws a number?

THE WITNESS: We draw a number. The system is now
set up on a computer. My office has no knowledge of who may

serve on a jury. There is a list of some sixty-seven hundred

Estus White - Redirect 74

 

Case '1:

16-cv-00539-CCE-LPA Document7-17 Filed 06/17/16 Paoe 21 of 53

 

\_./|

10
n

12
13
14
15
16
17
18
19
20
21
22
23
24

25

prospective jurors for a two-year period. From this sixty-
Seven hundred jurors which are selected basically, and
certainly at random choice, mainly from a list of property
owners of Cabarrus County; also of persons who are registered
to vote, and now, in the last two years, we use in addition
to that a list of persons who have been issued a valid North
Carolina driver's licensor ,The jury commission which is
appointed every two years -- in fact, the jury commission
just prepared a new list for the next two years which would
Serve, those jurors that would serve in 1988 and 1989. This
is done by computer. In fact, the driver's license names are
Sent to us from, or to the county from,the Department of

Motor Vehicles of those individuals who have a driver's license

\v

to operate a motor vehicle. From this a number is assigned.
The number begins with number one and ends at number six
thousand seven hundred and something -- there, of course, are
a few,wmore or less. From this the computer randomly chooses.
If we need seventy jurors, which we are now pulling, the old
rule was we pulled fifty, for a grand jury selection, .that
is the first session in January or after July. We added an
additional ten or eleven, I'm sorry, I'm not sure exactly

but I'm sure it's at least ten additional which at that time,
more than a year ago, we pulled sixty jurors for those sessions
in which a grand juror was to be selected. Those names are
then submitted to the Register of Deeds --

Estus White 75

 

 

 

 

CaSeZL

:16-cv-OO539-CCE-LPA Document7-17 Filed 06/17/16 Paoe 22 of 53

1 THE COURT: The numbers?

2 THE WITNESS: The numbers are submitted to the

-3 Register of Deeds which then matches them with the names of
4 individuals. If we have a requirement for a jury which is
5 assigned to us through the state court system of the jury

b sessions that we would need, we notify -- we did notify the
7 Register of Deeds and they would select fifty or seventy

8 jurors -- we now notify the computer, we are now authorized
9 to use the computer. The Register of Deeds, though, still
10 has the names and the list. These names are then submitted
11 to the Sheriff. The Sheriff then summonses the jurors, We

have no knowledge of who is being summoned. We are then

12
13 'given a printed list, now alphabetically because of the
14 computer that can do it alphabetically -- originally we got
15 it, or several years ago before the computer system, we got
16 it just by names randomly. And in our selection of a petit
17 jury or for the selection of a grand jury, it is done by
‘é numbers being placed into a box or into a container. From
19 this a number shall be drawn. This number would then be
20 matched with a list, numbering one to seventy, and juror
21 number seven would either be called for a petit juror or for
a _¢-v
22
23 THE COURT: That's what I was particularly interests
in.
24
THE WITNESS: Right.
25
Estus White l 76

 

 

 

Case ’_:16-CV-OO539-CCE-LPA Document 7-17 Filed 06/17/16 Paoe 23 of 53

'\_/'

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24

25

Case _:16-CV-OO539-CCE-LPA Document 7-17 Filed 06/17/16 Paoe 24 of 53

 

 

THE COURT: In your courtroom drawing procedure
you use numbers rather than drawing slips of paper that have
names on them?

THE WITNESS: Yes, and we have used this system for
a number of years; I know it must be seven, eight, ten years,
it's been a number of years, l feel sure since we have been
in what we refer to as our new courthouse which I think is
'74 or '75, we have used the numbering system with a disc
that has a number.

THE COURT: Even in the courtroom at the time the
grand jury or the petit jury is drawn, your clerk initially
pulls a numbered disc, and when she first looks at what she
draws she sees a number, not a name?

THE WITNESS: That is correct. We draw a number
and juror number seventy-five would then be matched with
juror number seventy-five on a list; we would then at that time
and not until that time know who juror number seventy-five was
That person would then be selected to be a member of a grand
jury selection if it were grand jury, or for a petit jury were
it a petit jury.

THE coURT: Thank you`, sir.

Any further questions of Mr. White?
MR. ROBERTS: Not from the State, Your Honor.
THE COURT: You may step down.
(The witness leaves the stand.)

Estus White 77

\V

 

10
v11
12
13
14
15
16
17
18
19
20
21
22
23
24

25

 

 

 

DALE RITCHIE, being duly sworn, testified as follows:

` DIRECT`EXAMINATION BY MR;`GROSSMAN:

Q What is your name, please?

k Dale Ritchie.

0 Ms. Ritchie, where were you employed in 1976, September?
A The Concord Tribune.

Q Ms. Ritchie, where are you now employed?

A Koontz, Hawkins and Nixon.

0 You're a legal secretary now?

A Yes.

Q All right. How long had you been employed at the Tribune

at the time Ronnie Long's trial came up?

k I began working at the Tribune in 1968.
0 As such, what were your duties?
A At the time of the trial I was a reporter, covering

mainly courts.

0 How long had you covered courts prior to September 1976?
A Probably it had been at least five years.
0 Had you covered virtually every session of Criminal

Superior Court in Cabarrus County for five years leading up
to Ronnie Long's trial?

A Yes, sir,

0 Did you cover, or not, most of the proceedings of the
Ronnie Long trial?

A I did.

Dale Ritchie - Direct 78

Case 1:16-CV-OO539-CCE-LPA Document7-17 Filed 06/17/16 Paoe 25 of 53

 

10
U
12
13
14
15
16
17
18
19
20
21
22
23
24

25

Q Did you cover some of the proceedings leading up to the

trial?
111 1 did.

0 Did you cover some of the rallies which occurred?

k I don't specifically recall covering any rallies.

0 Were you familiar, and are you now familiar, with some

of those rallies that occurred?

k Yes. '

0 Were you familiar by virtue of your job as a reporter
with fee1ings within the community regarding the case against

Ronnie Long?

A Yes.
0 Describe those feelings to the best of your knowledge,
A There was a lot of tension; seemed to be a lot of anger

surrounding this case,

0 By tension, do you mean racial tension?
k Yes.
0 When the victim originally reported the crime, there was

a period of time before Ronnie Long was arrested, is that

correct?
k As I best recall, yes.
0 What was the feeling within the community prior to the

1 time Ronnie Long was arrested, if you recall?
A I don't recall.
0 You do not recall. Okay. Leading up to the time of the

Dale Ritchie - Direct 79

 

 

Case 11:16-CV-OO539-CCE-LPA Document 7-17 Filed 06/17/16 Paoe 26 of 53

 

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24

25

Case 1

F

 

trial, did you have conversation with a number of people with-
in the community or in the community regarding the trial?

A I'm sure I talked to people about it, yes,

0 Did the -- to your knowledge do you have an opinion as

to whether the community was well aware of the proceedings
against Ronnie Long, based upon your --

A I do have an opinion,

0 What is that opinion?

R Maybe I better let you finish your sentence again.

Q All right. Do you have an opinion satisfactory to your-
self, based upon your duties as a reporter and your contacts
within the community as to whether the publicity in this case,

whether or not it was from the Tribune, permeated the

community?

A Yes, I do have an opinion and that --

Q 1 What is that opinion?

A -» opinion is that they were well aware of this case.
0 -Have you reviewed your articles at my request over the

last number of weeks?
A I have.
0 Were those articles factual at the time you wrote them,
to the best of your recollection?
A They were.
Q Based upon your review of those articles ~-
MR. GROSSMAN: May l approach the bench to get the

Dale Ritchie - Direct 80

 

.16-cv-00539-CCE-LPA D00ument7-17 Filed 06/17/16 Paoe 27 of 53

 

10
H
12
13
14
15
16
17
18
19
20
.21
22
23
24

25

Case

exhibit, Your Honor?

THE COURT: Yes, sir.

MR. GROSSMAN: Let me show Mr. Roberts.
vQ. Do you recall -- well, let me show you Exhibit number
19, what's been marked as l9, did you write that article?
A I did.
Q Was it true to the best of your knowledge?
A It was.
Q. Do you recall, or did you use that article to refresh
your recollection in the past couple of weeks?
k I have.
9 Do you recall how many jurors were in the jury pool in
this case?
k Forty.
9 I call your attention to a paragraph right above jury

selection. Can you use that to refresh your recollection?

A Yes.

0 How many jurors were in that pool?

A There were originally forty; only twenty-six appeared.

Q How many later came?

k There were an additional fifty called.

Q All right. Was there at sometime -- let me let you read

that paragraph, if you would, down there, to refresh your
recollection.
A When the forty~nine --

Dale Ritchie - Direct 81

 

 

lilG-CV-OOBSQ-CCE-LPA vDOCUI'T}€D'[ 7-'17 Filed 06/17/16 PaOe 28 Of 53

 

 

1 Q Just to yourself, please,
Qy 2 A All right.
3 Q How many jurors were in the jury pool, if you recall,

4 ma'am?

5 A Forty-nine.

b 9 How many of those were blacks?

7 k Two.

3 v Q Did you recall from reviewing those articles whether

9 other jurors came in the next morning?

10 A I believe they did, yes,

11 0 How many of them were black, do you recall?
12 A As l best recall, there were two additional.
&“ 13 Q Okay. And how many jurors total, do you recall?
1 14 k No, not unless I read this again to refresh my memory.
15 l MR. GROSSMAN: I'll let Mr. Roberts review one of

16 these exhibits.
17 Q Ms. Ritchie, based upon your review, do you recall
18 whether the final jury in this case was all white or not?

A As l best recall, it was all white.

 

1 9
20 Q All right. I show you what's been marked as Exhibit 20,
m and ask if you have reviewed this at my request over the last
22 number of days?
h,_ 23 A Yes.
¢" 24 Q Did you write the article?
k I did.

25

Dale Ritchie - Direct 82

 

 

 

Case ’_:16-CV-00539-CCE-LPA Document 7-17 Filed 06/17/16 Paoe 29 of 53

 

1 Q Is it factual, to the best of your knowledge?
2 A YQS.
3 Q I believe I asked you to review particularly the aspect

4 of the article as to what happened to the black jurors.

5 A YeS.

¢I( Q Do you recall that?

7 A Yes.

8 Q Based upon what you recall now, having refreshed your

9 memory, do you recall what happened to the black jurors in
10 this case?

n A They were excused.

12 Q By whom?

13 A. As I best recall, they were excused by the State or the

presiding judge.

 

 

14
15 Q All right. Ms. Ritchie, based upon your work as a
16 reporter at the courtroom and as a journalist, do you have an
17 opinion as to whether the venue should have been moved from
18 Cabarrus County?
19 MR. ROBERTS: State OBJECTS, Your Honor.
20 THE COURT: SUSTAINED.
21 MR. GROSSMAN: No further questions,
22 "EROSS`EXAMINATION BY MR. ROBERTS:
23 Q Ms. Ritchie, I believe you sat through that trial, didn't
24 you, ma'am?
25 A Yes, I did.
Dale Ritchie - Cross 83

 

 

 

 

Case ’_:16-CV-00539-CCE-LPA Document 7-17 Filed 06/17/16 Paoe 30 of 53

"\.../‘

10
H
12
13
M
15
16
17
111
19
20
21
22
23
24

25

Q And did you view any racial intonations during the course
Of that trial?

A No, sir, I did not.

Q Now, I think the State excused jurors because they didn't

want to sit because they knew the family and it would be

embarrassing for them to return a verdicts

A As l best recall, that's correct.

Q And then one black lady said that she lived a block from
the defendant, knew the family real well, knew Ronnie very
well, and a very intimate relationship but she said she could
be fair to the State, and I exercised a peremptory challenge0
Do you remember that?

A Yes, that's how I recall it.

Q Do you remember the defense excusing a black man who
stated that in his opinion the defendant was guilty?

A l don't recall; I'm sorry.

0 Let me see if I can refresh your memory. He was a
retired Cannon Mill employee and he sat in seat number five,
and when asked if he could be fair to the State -- well, no,
he was asked, "Do you have an opinion as to the defendant's
_guilt or innocence?" And he said, "If he's here, he's
_guilty." Do you remember him saying that?

A No, sir, I'm sorry, 1 don't remember.

Q MS. Ritchie, I believe you covered a tremendous number
of cases in this courtroom, particularly jury cases?

Dale Ritchie - Cross 84

 

 

Case i:lG-CV-OO539-CCE-LPA Document 7-17 Filed 06/17/16 Paoe 31 of 53

 

\_,/'

10

H

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

 

 

A Yes, sir.
Q Did you, ma‘am, ever note any exclusion of blacks from
the jury for no reason other than the fact that they were
black?
A No, sir.
MR. GROSSMAN: l OBJECT to that; that's leading.
THE COURT: SUSTAINED.
Q All right, did you sit through the Craig and Anthony
trial, first degree murder case tried in this courtroom?
A I believe that I did.
Q And the defendants were sentenced to death, do you

remember that?

A Is this the Rocky River --

Q Stabbed forty-three times.

h Yes.

0 And blacks sat on that jury, do you recall that?
A I don't specifically recall; I'm sorry.

Q Uh-huh. All right, thank you very much.
MR. GROSSMAN: Thank you, Ms. Ritchie,
THE COURT: Thank you, You may step down.
(The witness leaves the stand.)

MR. GROSSMAN: Judge, let me just review my notes
for about fifteen seconds and make sure I'm not leaving any~
body out._

(Brief pause in proceedings.)

Dale Ritchie - Cross 85

Case i:lG-CV-OO539-CCE-LPA Document 7-17 Filed 06/17/16 Paoe 32 of 53

 

 

rmi

10

H

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

 

 

MR. GROSSMAN: That concludes the oral evidence.

I believe the statute allows a review of the record itself,
For the purpose of the record, I would move to introduce the
two files into evidence in the case, I have not marked them,

THE COURT: All right, the Court will consider them
to be in evidence.

MR. GROSSMAN: All right. Do you want them marked?

THE COURT: No, sir, I have them up here,

MR. GROSSMAN: That will conclude, then, this
evidentiary hearing, or at least the defendant's aspects of
the evidentiary hearing.

THE COURT: Mr. Roberts, do you have evidence to
present?

MR. ROBERTS: No, Your Honor.

THE COURT: All right. I assume you gentlemen would
like to be heard in oral argument?

MR. GRGSSMAN: Yes, sir.

THE COURT: All right, I'm going to let you have
about five minutes to get your thoughts together and then
I'll hear from both of you,

We'll be at ease for five minutes.

-- sHoRT RECESS --

THE COURT: Mr. Grossman, I would assume, since you
have the burden in this, that you would be entitled to go
first and last if you choose, or if you and Mr. Roberts have

86

Case i:lG-CV-OO539-CCE-LPA Document 7-17 Filed 06/17/16 Paue 33 of 53

 

10

H

12

13

14

15

16

17

18

19

20

21

22

23

24

25

Case _:16-CV-OO539-CCE-LPA Document 7-17 Filed 06/17/16 Paue 34 of 53

'the time, due to his local attachments and friends who have

 

 

 

worked out some other division of your --

MR. GROSSMAN: We haven't truly discussed it, Your
MOHO£. I prefer to gu last and waive the Liist.

THE COU T: All right. Mr. Roberts, you're in the
unusual position of going first, then.

MR. ROBERTS: Thank you, Your Honor.

Your Honor, the thrust of the motion is ineffective
assistance of counsel, and I think that through the witnesses
for the defendant that we have shown that the attorneys
involved in this matter are of'a most reputable law firm1
one experienced in civil rights legislation, racial equality;
that firm is known throughout the entire Southeast. Members
of that firm all enjoy excellent reputations.

The point of a change of venue and venire, I am and have
been aware of that strategy for eleven years. They felt,
even then, and declared so, that they thought that Cabarrus

County was perhaps the safest harbor for this defendant at

been supportive of him in this courtroom and outside the
courtroom, I don't think that their failure in that regard
reflects on ineffectiveness; I think it was a deliberated
decision on their part as they have testified to.

Your Honor, as to the supplemental motion filed under the
theory of Cofield, State conceded that I have no recollection
of a black foreman of the grand jury. I do have a recollectiol

Argument by Mr. Roberts 87

 

1 of a black foreman of the petit jury. And I think through

2 Mr. White's testimony it should become obvious to the Court

3 that there has been no systematic exclusion of people. His

4 Honor is familiar with the practice that the outgoing foreman

recommends someone who has shown an interest, someone who

6 can handle the paperwork, the general demeanor as observed

,7 by each other, whatever occurs in a grand jury room, has been
3 the system and as Mr. White testified race never entered into
9 it.

10 Jury selection in this county, I think Mr. Fuller kind
11 of summed that up by the testimony that I elicited with

12 regards to his appearing before the D.A. Conference in

13 Chapel Hill. At the time, and even now, I'm rather pleased
14 by his observation that only in this judicial district could
15 he say that that firm was always treated fairly and their

1b clients fairly with regards to racial equality and racial-

17 situations.

18 I think, Your Honor, that the facts before the Court

19 with regards to any systematic exclusion of black people from

20 the jury certainly have not carried their burden forward;

that due to the nature of things prior to two years ago jurors

21 .

22 were taken from voter lists and property owners and so forth,
23 that perhaps there was an imbalance but it was not a systemati(
2411 exclusion on the part of the Court, it was jury qualifications
25 as set forth by the legislature.

1 Argument by Mr. Roberts 88

 

 

 

 

Case 1:16-CV-OO539-CCE-LPA Document 7-17 Filed 06/17/16 Paue 35 of 53

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

 

 

The newspaper articles that His Honor has before him I
do not think show anything inflammatory.

As I understand the thrust of the motion filed by the
defendant some ten years later, it says he did not get a fair
trial, essentially this is what he is saying, and I do not
think through his evidence that either through systematic
exclusion of blacks or any other reason has he shown the
denial of a fair trial, >We guarantee, Your Honor, fair
trials, not perfect trials. And with regards to any implica-
tions of ineffectiveness of counsel with regard to search and
seizure of some of the evidence in the case, as l understand
the Supreme Court's decision affirming this conviction, they
considered it, found that it was consensual, that it met all
the requirements of the law with regard to a consensual
search.

So, Your Honor, the State feels that the defendant has
not met its burden through this post-conviction hearing, and
would request the court to deny the affirmative relief n~ught
by the defendant.

THE COURT: Mr. Grossman.
MR. GROSSMAN: Thank you, Your Honor.

This case comes on before the Court through somewhat
difficult circumstances, I suppose, for all parties eleven
years after conviction. We sit here and the attorneys this
morning testified a number of times that they simply could

Argument by Mr. Grossman 89

Case 1:16-CV-OO539-CCE-LPA Document 7-17 Filed 06/17/16 Paue 36 of 53

 

10
11
12
13
14
15
1b
17
16
19
20
21
22
23
24

25

Case i:lG-CV-OO539-CCE-LPA Document 7-17 Filed 06/17/16 Paue 37 of 53

 

 

not recall, and that's unfortunate for all parties. However,
the transcript does recall, Your Honor. The Court not having
read the transcript, it's hard to speak of it here today, so
I'll say what I oftentimes say to the jury, if something I
say is wrong, of course, go by whatever it says on the paperr
The transcript is before the Court; the Court will consider
that, I suppose, in the next number of weeks in light of a
lot of what it has heard this morning.

Your Honor, I can sit here for an hour and talk about
law, What I have done is I have taken the liberty of prepar-
ing a short memorandum,recognizing that the Court will take
probably a few weeks to review it and, of course, the District
Attorney's office can prepare a memorandum if they would like.
I would like to file that in the file to at least bring the
Court's attention to some of what I think are the relevant
cases rather than taking all of the next hour to tell you
about the cases. I will serve Mr. Roberts with that. If the
Court will allow me to file that in the file?

THE COURT: You may file it, it will be included in

the court file.

MR. GROSSMAN: I do want to discuss some of the facts

Judge.

Systematic exclusion of blacks can be proven in a couple
of different ways. The memorandum speaks to it, but basically
you can show it by having a witness stand up there and say,

Argument by Mr. Grossman 90

3’

 

10

11
12
13
14
15
16
17
1 18
19
20
121
22
23
24

25

Case 1.

 

 

 

"Yes, we systematically excluded against blacks." You are
never going to find that happening.

What these attorneys apparently did, as best we can tell
and the transcript will Speak to it, is they brought in a
motion on the day of trial, The transcript, I believe when
you read it you will see will speak;to the attorney, Mr.
Fuller, telling the judge, and this is in the record, that if
the jury shows X amount, not enough blacks, we're going to
have this motion, and then later in the record he calls this
MS.°Ballington we talked about and makes mention that she got
that morning some information from him. He didn't prepare,
Judge, and a motion regarding constitutional protection,
which is what racial discrimination is, it is protected by the
constitution, let me phrase it correctly -- a motion of that
nature requires the utmost preparation. All motions require
preparation. Jim Fuller and Kark Adkins themselves said, "We
ought to prepare motions," not specifically in this case, but
"motions should be prepared prior to trial."

Erwin Spainhour, a man well known in the county, good
reputation, "Yes, you ought to prepare a motion before trial,
before hearing, and you ought to investigate."

When you read the transcript, Judge, you'll see that
James Robinson or John Robinson, l can't remember his name,
but Robinson, testified and apparently had lost relevant
evidence that was never brought in by Mr. Fuller who was

Argument by Mr. Grossman 91

i€-cv-OO539-CCE-LPA Document7-17 Filed 06/17/16 Paue 33 of 53

 

10

H

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

 

examining, or handling this motion. lt wasn't prepared.

And it's not the gist, Judge, of saying the jury had a
systematic exclusion of blacks. That's important. But the
gist of the motion of ineffective assistance of counsel is
failure to prepare or investigate when you have a motion.
Well, now I've got to go back after eleven years and show
that there was systematic exclusion which is mighty difficult
to do, very candidly. And that's why Ira Padgett and Harvey
Cannady came in and said, "Judge, as best we can recall,
there were thirty-five or forty or fifty," I can't remember,
I hope the Court does, but some amount in the jury pool and
there was some amount of black folks, four, five or six, or
I believe Ira testified three, four or five, in there, The
Court can come out with its own percentages. We have a
Stipulation of fifteen point nine percent blacks in the county
I think what the Court is going to find is when it runs the
percentages out is that you have got an under representation
of blacks in the jury pool. It's not a terrible under
representation but it's a consistent under representation,
you see, and that's what makes the difference. If we had had
ten percent at one term and twenty percent at another term,
we wouldn't be here arguing this, but we had a consistent
under representation of blacks in the jury pool in 1974, '5
and '6, mid seventies.

Now, I said we could put a man on the stand to testify

Argument by Mr. Grossman 92

Case i:lG-CV-OO539-CCE-LPA Document 7-17 Filed 06/17/16 Paue 39 of 53

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

Case

 

 

 

lil€-CV-OOBSQ-CCE-LPA DOCument 7-17 Filed 06/17/16 PaOe 40 Of 53

that, "I systematically exclude blacks from the jury," but
we're never going to see that. The other way to do it is to
show disparity in percentages for a period of time leading up
to the trial, leading up to the motion before the bar. And
that's what I've done today, And l have carried the burden
on that, I believe, by showing that there was an under
representation,

The other test, of course, it's a two-fold test, is to
show that there's under representation on that jury, and I
believe Dale Ritchie did that from her newspaper articles
where she showed four out of fifty-five, I believe -- the
articles are in evidence, the Court can see that for itself
alsor There is some information in the record but there was
an under representation of blacks in this jury; there was an
under representation of blacks in the entire jury pool;
there had been for a number of years; Mr. Roberts brought out
that it got better when we started putting in driver's license
which was two years ago, l believe he argued to the Court.
But that was 1985. This is 1976,

Judge, the Strickland case, which is the key case and
it's in the memo on ineffective assistance, which has been
adopted in North Carolina, says that I not only have to show
ineffective assistance but I've got to show some prejudice,
too; that is that the result might have been different. I
have carried that burden; I have shown the Court on the

Argument by Mr. Grossman 93

1 U)

 

10

'H

12

13

14

15

16

17

18

19

20

21

22

-23

24

25

Case 1[.‘16-CV-OO539-CCE-LPA Document 7-17 Filed 06/17/16 Pace 41 of 53

 

 

 

systematic exclusion that there was problems with the jury,
and the State would have to go forward with that now and show
that, in fact, that jury was racially neutral and that juries
in '74, '5 and '6 were racially neutral.

All right, now, that's similar to what actually happened
in State versus Cofield, the grand jury case, In State
versus Cofield, contrary what we seem to be hearing, we didn't
say that the case gets booted because there was no black
grand jury foreman in twenty years; that case, as I'm sure
the Court is aware, was remanded for a finding of racial, to
determine whether grand juries were racially neutral, selecti01
of grand jury foremen were racially neutral in that county,

I have put up evidence that there was no grand jury fore-
man in Cabarrus County who was black for at least twenty
years, at least nine years before Ronnie Long's trial, The
State has put up rebuttal -- well, excuse me, by cross
examination of Mr. White, has put up a very good case to show
that there is no racial discrimination in the selection of
grand jury foremen in 1987; hasn't talked at all about 1976.
They admit what I put into evidence. l put into evidence that
there were grand jury foremen problems throughout nine years
prior to Ronnie Long's trial, Mr. White testified, as I
recall, if I'm wrong then I stand corrected and I apologize
to the Court, but as I recall Mr. White testified to what we
were doing and how we picked grand juries, and he said, "We've

Argument by Mr. Grossman 94

 

//

. \`/1

10
U
12
13
14
15
16
17
18
19
20

21

22
23
24

25

been doing that," and I remember this, "for the past six,
eight, ten years." This is 1987, two weeks from 1988. Ronnie
Long was tried in 1976, I don't think the State met.

Now, in all candor, the memo speaks to this, we have got
a retroactivity problem but I've talked to that in the memo
and I'll let the memo speak for itself, I'm aware that to my
knowledge Cofield has not been determined to be retroactive
or not. I have put this in this motion because the rule on
these motions I think says you have to raise them when they're
there.

All right. Now, the search~and seizure --

THE COURT: Let me interrupt you just a minute.

I understood Mr. White to say that since this courthouse had
been in existence and had been used, rather than the last six
to eight years, I believe that was the time, and we'll see
from the transcript of this trial,

MR. GROSSMAN: Okay, if that's so, Judge, I'll stand
corrected because I listened very carefully.

THE COURT: I have assumed, and just so that I'm not
assuming any further, is it stipulated and agreed that Mr.
Long's trial was held in this building, in this very room?

‘ MR. GROSSMAN: T believe that's right; T was nor
here.

MR. ROBERTS: That's correct, Your Honor.

MR. GROSSMAN: Judge, if I'm wrong, of course, I'm

Argument by Mr. Grossman 95

 

 

Case 1.

i€-cv-OO539-CCE-LPA Document7-17 Filed 06/17/16 Pace 42 of 53

 

10

11

12

13

14

15

16

17

18

1-9

20

21

22

23

24

25

Case l.l€-Cv-OO539-CCE-LPA Document 7-17 Filed 06/17/16 Pace 43 of 53

 

 

 

not intentionally misleading the Court, I have got it
written down here in numbers, seven, eight, ten years, on my
notes. Now, again, we'll let the transcript speak for itself
on that, of course, I do recall him saying something about
1970; however, I took the grand jury selection to be in the
past seven, eight, ten years; whatever, the transcript can
speak, as far as I'm concerned.

On the search and seizure issue, Judge, l have introduced
the brief. My problem with that, in all candor, the North
Carolina Supreme Court has ruled on the substance of that
issue, Mr. Long brings it back on the issue of ineffective
assistance. I have presented very little evidence on that.
What disturbs me most is there apparently is no evidence in
the transcript, as I recall, there is no argument in the brief
regarding a twenty-year-old situation at that time, which
is highly relevant, 1 think, to consensual search in a search
and seizure question. The transcript and the brief which are
in evidence will speak for themselves on that; 1 maintain that
the failure to deal with that was ineffective assistance.

' …{:Einally¢<the change of venue. What concerns me, and I'm
aware, of course, of the law that says that strategy shouldn't
be second-guessed, what concerns me is that these gentlemen
talk about Rowan County and certain activities in Rowan County
They talked, Mr. Fuller I think about Monroe, and Mr. Adkins
about Albemarle. We‘re talking Judicial District 19 in 1976,

Argument by Mr. Grossman 96

 

10

H

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

 

 

Case 1.

I asked them about Randolph and Montgomery and they didn't
respond that they had truly considered that; as l recall they
responded that they must have talked about it, but they had
no true recollection, What concerns me in a change of venue,
and that was also the purpose of putting John Kennedy up and
in some respects the purpose of Dale Ritchie, is that this
was clearly a case with racial overtones. I think the evi-

dence speaks to that. It was clearly a case that was

F|'

manifest in the community. It was clearly -- well, I shouldn'
say that, but I believe Dale Ritchie testified that the case
permeated the community. I haven't shown, and I'll candidly
tell the Court, that the newspaper articles were inflammatory
or non-factual because they'were not, but under the case law
the community and the feelings within the community can give
rise to a venue change. And I maintain and have maintained
that these gentlemen should have made a motion for change of
venue and their failure to do so was ineffective assistance.
They have today testified that this was a strategy dccision.

I recognize the case law on strategy decisions; however,

their strategy decision was marred by their statement that they
were afraid they were going to Rowan, they were afraid they
were going to Monroe, or they were afraid they were going to
Albemarle. They could have considered the other towns in
the judicial district; they could have made a motion to not
only change from Cabarrus, but change and consider other

Argument by Mr. Grossman 97

 

16-cv-OO539-CCE-LPA Document7-17 Filed 06/17/16 Pace 44 of 53

10

H

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

 

 

 

CaSeJ.

venues, and why. Now, I realize that might have been a little
unusual but in a case of Ronnie Long's nature, and Mr.
Roberts, I believe, correctly pointed out that it was capital
at that time -- I was in law school at that time -- but it
was capital and it was an important case, lt was a major case
And the venue should have been changed in the case, l main-
tain that was ineffective assistance.

Briefly, my burden is by a preponderance of the evidence,
under G.S. l§-A-l420. l believe I have met that burden. I
believe Mr. Long is entitled to a new trial, There is some
'pohn:abmn;hdn receiving a fair trial, Under the Vasquez~
case which is cited in the memorandum, a new U. S. Supreme
Court case, the fact that he may have received a fair trial
does not mean he is not entitled to a new trial if the
errors of constitutional nature have indeed been made.

I realize it's been eleven years, Your Honor, but these
are constitutional errors of major import; they are grave
errors, and on behalf of Mr. Long, Your Honor, I would ask
that the motion be granted.

Thank you,

THE COURT: All right, gentlemen, pursuant to your
stipulation, I intend to take this motion under advisement
and rule upon it after I have had adequate time to review the
transcripts of the original trial as well as the transcript
of this hearing. Madam Court Reporter, I direct you to

Argument by Mru Grossman 98

:16-cv-OO539-CCE-LPA Document7-17 Filed 06/17/16 Pace 45 of 53

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

 

prepare a transcript of these proceedings at the expense of
the State, If you would, provide a copy both to Mr. Roberts
and to Mr. Grossman, as well as to the Court, and present any
order for your services to me and I will award you your fee.

If}Mr. Roberts, you or your office on your behalf, desire

~to present any written memorandum in response to what Mr.

Grossman has filed and served on you this nfternnon. you may
certainly do that. I would hope that if you choose to do that
you might be able to do it within the next thirty days.

MR. ROBERTS: All right, sir.

THE COURT: Anything further, gentlemen?

MR. ROBERTS: Not from the State, Your Honor.

MR. GROSSMAN: No, Your Honor. Thank you.

THE COURT: Thank you, gentlemen.

* * 'k

99

Case iii6-CV-OO539-CCE-LPA Document 7-17 Filed 06/17/16 Pace 46 of 53

 

- non m

'E||€Ab €0.. IAYQ||I¢. I.J. 0700!

~._/

10

H

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

STATE OF NORTH CAROLINA

)
: C E R T I F I C A T E
COUNTY OF MECKLENBURG )

I, Gena W. Kirby, Commissioner and Notary Public, do
hereby certify as follows:

That I reported in shorthand the foregoing proceedings
in the foregoing styled cause at the time and place stated
in the caption hereof;

That I later reduced my shorthand notes to typewriting,
or under my supervision, and the foregoing pages l through
99, both inclusive, contain a full, true and correct
transcript of the proceedings as therein set out.

This the 23rd day of January, 1988.

Gena W. 'Kirby
P. O. Box 29037 /
Charlotte, NC 28212

;:/E/;L/¢(/ ?/{ /j:/¢',{/\(

My Commission Expires:
8/31/91

Certificate 100

Case 1:16-CV-OO539-CCE-LPA Document 7-17 Filed 06/17/16 Pace 47 of 53

 

 

 

NORTH CAROLINA 1 1_-1-11. 1.“_1*1 IN THE GENERAL COURT OF JUSTICE
51,'.15.15 SUPERIOR COURT DIVISION

cABARRUs coUNTY 331 q 1 76 cRs 5708 a 5709

5
\`_))

1 '~
w‘\l/-

  

-.;. j '4 1_ 1_:
sTATE 0F NORTH cARcLINA 31“1“17/ y
vs ‘1 g fzw " JUDGMENT cN MoTIoN
‘ § FoR APPROPRIATE RELIEF
RONNIE wALLACE LONG, :
Petitioner. :

This Plenary Hearing was held on the 16th day of December, l987.
The petitioner was present and represented by Steven A. Grossman. The
State was represented by the Honorable James E. Roberts.

This proceeding was initiated by the filing of a p£g §§ motion
for appropriate relief on August l, l986, was supplemented by the filing
of a motion for appropriate relief prepared by appointed counsel on
August lO, l987, and further supplemented by appointed counsel in a
motion filed December 8, l987. The trial complained of was held in
Superior Court of Cabarrus County, with judgment entered on October l,
1976. The defendant/petitioner was convicted by a jury ofthe crimes
of first degree burglary and first degree rape and was sentenced to
a term of life imprisonment in each case,

The Court finds the defendant/petitioner has alleged and contends
that his constitutional or legal rights were denied or violated during
his original trial in each of the following respects:

l. That defendant/petitioner's constitutional right to the
effective assistance of counsel was denied by (a) trial counsel's
failure to seek a change of venue or a special venire; (b) trial
counsel's failure to move to quash the jury venire until the day of

trial; (c) trial counsel's failure on appeal to pursue an issue of

 

11WWN

 

1

Case f:l6-CV-OO539-CCE-LPA Document7-17 Filed 06/17/16 Pade4 101°53'

systematic exclusion of blacks from the jury pool; (d) and trial
counsel's failure to file a pretrial motion to suppress certain
evidence seized from defendant/petitioner's vehicle, to vigorously
pursue said motion when made at trial and to properly represent the
defendant/petitioner on this issue upon appeal; and

2. That the selection of the foreman of the Grand Jury
which indicted the defendant/petitioner was conducted in a racially w
discriminatory fashion. w

The Court heard the evidence presented by counsel for the
defendant/petitioner, the evidence presented by the State through
cross-examination of defendant/petitioner's witnesses and the
arguments of counsel, Each side stated to the Court that it had
no further evidence to present.

In consideration of all the competent evidence offered, and
after considering the arguments of counsel, and after carefully
reviewing the transcript of this hearing as well as the transcript
of the original trial, the Court finds by the preponderance of the
evidence that: d

l. In case number 76 CR(S) 5708, the defendant/petitioner
was found guilty by a jury on October l, 1976, in the Superior
Court of Cabarrus County, upon a true bill of indictment returned
at the May l7, 1976 Session of the Grand Jury, which bill charged
the felony of first degree rape;

2. In case number 76 CR(S) 5709 the defendant/petitioner
was found guilty by a jury on October l, 1976 in the Superior Court
of Cabarrus County, upon a true bill of indictment returned at the
May l7, 1976 Session of the Grand Jury, which bill charged the felony

of first degree burglary;

Case 1:16-Cv-OO539-CCE-LPA Dochment 7-17 Filed 06/17/16 Paue 49 of 53

 

3. The sentence of the trial court in each case was life
imprisonment;

4. Attorneys James Fuller and Karl Adkins were privately
employed to represent the defendant/petitioner at the original trial
and continued to represent the petitioner on his appeal to the
Supreme Court of North Carolina;

5. The undersigned has heard and observed the witnesses on
the stand and has determined what weight and credibility to give to
their testimony;

6. Defendant/petitioner's trial counsel fully considered the
possibility of requesting a change of venue or special venire and
discussed this possibility with defendant/petitioner and his family
members;

7. Defendant/petitioner's trial counsel concluded that
defendant/petitioner's interests would be better served by having
his trial held in his home county where he had substantial support
within the community;

8. Defendant/petitioner's trial counsel were members of a
law firm recognized in North Carolina as being the State's leading
firm with expertise in matters of racial discrimination;

9. Defendant/petitioner's trial counsel had participated
`on earlier occasions in motions to quash jury panels for racial
discrimination in the selection process;

lO. Defendant/petitioner's trial counsel were very familiar
with and experienced in the presentation and examination of
witnesses to support a motion to quash a jury panel for racial

discrimination in the selection process;

Case 1:16-cV-00539-CCE-LPA Document 7-17 Filed 06/17/16 Paoe 50 of 53

 

ll. A supplemental jury panel was ordered drawn by the
Presiding Judge on the morning of the first day of Court with those
jurors to appear along with the original jury panel at the afternoon
session of Court;

12. The racial make-up of the jury panels summoned for
defendant/petitioner's trial could not reasonably be ascertained
prior to the arrival of the jurors in the courtroom;

l3. Defendant/petitioner's trial counsel advised the
Presiding Judge on the morning of the day at which the jurors were
to appear for the afternoon session of Court that a motion to quash
the jury panel might be necessary depending upon the actual racial
mix of the jury panel which appeared;

14. Such motion was made by counsel and was heard by the
Presiding Judge with a full presentation of witnesses by defendant/
petitioner's trial counsel in support of their motion and was denied
because the Presiding Judge found no evidence at all of a systematic
exclusion of jurors because of race (Trial Transcript Volume I,

Page 40);

15. Defendant/petitioner's trial counsel moved during trial
to suppress certain evidence seized from defendant/petitioner's car,
a voir dire was conducted, the denial of said motion was briefed and
argued to the Supreme Court and was there affirmed (Trial Transcript
Volume II, Page l93 gt. §gq. and State vs. Long, 293 NC 286, 293

(1977))7

16. ln 1976 the traditional process for selecting the foreman
of a Grand Jury in Cabarrus County involved the making of a

recommendation by the outgoing foreman of a member of the nine

Case 1:16-cV-OO539-CCE-LPA Document 7-17 Filed 06/17/16 Paoe 51 of 53

 

remaining Grand Jurors who was both willing and capable of serving
as foreman for the next six months, a review of the person so
recommended by the Clerk to determine if that person had a prior
criminal record, and the forwarding of the recommendation to the
Presiding Judge for his decision;

l7, Race was not considered in determining the qualifications
for Grand Jury foreman and that in all instances the Presiding Judge*
accepted the recommendation of the outgoing Grand Jury foreman.

BASED UPON THE FOREGOING FINDINGS OF FACT, THE COURT CONCLUDES

AS A MATTER OF LAW THAT:

/

l. The bills of indictment upon which the defendant/petitioner
was tried are valid;

2. The petitioner had a fair and impartial trial and none of
his constitutional or other legal rights were denied or violated in
any respects before, during or after his trial;

3. The evidence adduced supports a finding of guilty beyond a
reasonable doubt and a rational jury could have found the defendant
guilty beyond a reasonable doubt under the laws of North Carolina;

4. The decision of defendant/petitioner's counsel not to
seek a change of venue or special venire was one of trial strategy
made after full discussion with defendant/petitioner and his family
and friends and was the result of reasonable professional judgment;

5. Defendant/petitioner's trial counsel timely made and
pursued their motion to quash the jury panel for racial discrimination
in its selection, fully presented evidence and vigorously examined
witnesses in an effort to present to the Court evidence of such
discrimination; the application of their special expertise to the
pursuit of this motion was within accepted and reasonable standards

of professional competence and;judgment;

Case 1:16-cv-OO539-CCE-LPA` Document 7-17 Filed 06/17/16 Paoe 52- of 53

6. The decision of counsel not to pursue on appeal the issue
of racial discrimination in jury panel selection, in the light of the
absence of any evidence of such, was within the accepted and
reasonable standards of professional competence and judgment;

7. The validity of the consent search of defendant/petitioner's
car and the admissibility of the evidence seized was fully considered
by the Supreme Court of North Carolina and is now moot;

8. The selection process for Grand Jury foreman traditionally
followed in Cabarrus County at the time of defendant/petitioner‘s
indictment has not been shown by the evidence presented to have been
racially motivated nor to have excluded any qualified person simply
because of race;

9. The evidence presented rebuts any such contention of racial
discrimination in the selection of the Grand Jury foreman in Cabarrus
County during the time at which this case arose.

NOW, THEREFORE, IT IS ORDERED THAT:

l. The petition of the defendant/petitioner for a new trial or
dismissal of the charges against him is denied;

2. The defendant/petitioner is remanded to the custody of the
Department of Correction to complete service of his sentence as
provided by law;

3. Copies of this judgment are to be forwarded by the Clerk
of Superior Court to the petitioner, the petitioner's attorney, the
District Attorney and the Secretary of the Department of Correction.

This the 8th day of July, 1988.

 

f~\ \
A mut coPY 5 @wr%cz/;"Z, §
\ESTUS 3 VHHTE The Honorable Russell G. walker, Jr.
€§§",`..)UP;H C'R 0:\3`\
L §_, \§/

    

___
»..._ _»`.-.._...;

*m\~x wm :c;,;~` NJ%>§O>

Case 1:16-cV-OO539-CCE-LPA Document 7-17 Filed 06/17/16 Paoe 53 of 53

